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 9   Attorneys for Plaintiff                   Attorneys for Defendants
     JEFFREY B. SEDLIK                         Katherine Van Drachenberg aka Kat
10                                             Von D, Kat Von D, Inc., and High
11                                             Voltage Tattoo, Inc.
12
13                      UNITED STATES DISTRICT COURT
14                    CENTRAL DISTRICT OF CALIFORNIA
15
16   JEFFREY B. SEDLIK,                         Case No.: 2:21-cv-01102-DSF-MRW
17
                  Plaintiff,                    STIPULATION TO CONTINUE
18
                                                TRIAL AND PRETRIAL
19         vs.                                  DEADLINES
20
     KATHERINE VAN DRACHENBERG Current Trial Date: September 20,
21   aka KAT VON D, KAT VON D, INC., 2022
22   and HIGH VOLTAGE TATTOO, INC., Proposed Trial Date: December 13,
                                     2022
23             Defendants.
24                                   Judge: Dale S. Fischer
25
26
           Plaintiff JEFFREY B. SEDLIK (“Sedlik”) and Defendants KATHERINE
27
     VAN DRACHENBERG aka KAT VON D, and HIGH VOLTAGE TATTOO,
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     STIPULATION TO CONTINUE TRIAL AND PRETRIAL DEADLINES
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 1   INC. (“Defendants”), by and through their undersigned counsel, hereby
 2   stipulate and agree as follows:
 3           WHEREAS, Sedlik filed a Motion to Continue Trial and Associated
 4   Pretrial Dates on May 18, 2022, at ECF 61;
 5           WHEREAS, this Court granted Sedlik’s Motion on May 19, 2022 at ECF
 6   67;
 7           WHEREAS, the trial schedule was continued as follows: Trial
 8   Documents (Set One) from June 7, 2022, to August 2, 2022, Trial Documents
 9   (Set Two) from June 14, 2022, to August 9, 2022, pretrial conference from June
10   27, 2022, to August 22, 2022, and the trial from July 27, 2022, to September 20,
11   2022;
12           WHEREAS, Plaintiff’s lead counsel Joel Rothman was out of the country
13   from July 18, 2022, to July 22, 2022;
14           WHEREAS, when Joel Rothman returned to the U.S., he tested positive
15   for COVID-19 on July 23, 2022;
16           WHEREAS, Joel Rothman will be out of the office from July 25, 2022,
17   until he recovers from COVID-19 and is unable to prepare for trial;
18           WHEREAS, Plaintiff’s counsel Jonah A. Grossbardt was out of office
19   from July 17, 2022, to July 25, 2022, caring for his wife who had tested positive
20   for COVID-19 and seventeen-month-old daughter;
21           WHEREAS, the parties have been cooperating and working on
22   completing the pretrial documents and preparing for trial;
23           WHEREAS, Plaintiff’s counsel asked Defendants’ counsel to agree to
24   stipulate to continue the trial and pretrial dates due to Plaintiff’s lead counsel
25   contracting COVID-19 and being unable to work on the matter until he
26   recovers;
27           WHEREAS, Defendants’ counsel do not oppose Plaintiff’s request for a
28   continuance, so long as the trial is not rescheduled to a date on which



     STIPULATION TO CONTINUE TRIAL AND PRETRIAL DEADLINES
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 1   Defendants’ counsel are currently committed to other trials; Defense counsel
 2   currently have other trials scheduled for later September, October, and
 3   November, and their earliest reasonable availability is in December;
 4         WHEREAS, the parties stipulate to continue the trial schedule as follows:
 5   Trial Documents (Set One) from August 2, 2022 to October 25, 2022, Trial
 6   Documents (Set Two) from August 9, 2022 to November 1, 2022, pretrial
 7   conference from August 22, 2022, to November 14, 2022, and the trial from
 8   September 20, 2022 to December 13, 2022:
 9         WHEREAS, Defendants’ counsel does not object to continuing the trial
10   date from September 20, 2022 to December 13, 2022 and continuing the
11   associated pretrial dates.
12         WHEREAS, this is the parties second request to continue the trial;
13          IT IS HEREBY STIPULATED, subject to approval of the Court, that
14   the trial schedule is as follows: Trial Documents (Set One) from August 2,
15   2022, to October 25, 2022, Trial Documents (Set Two) from August 9, 2022, to
16   November 1, 2022, pretrial conference from August 22, 2022, to November 14,
17   2022, and the trial from September 20, 2022, to December 13, 2022.
18
19
20   DATED: July 26, 2022

21
22   /s/ Jonah A. Grossbardt                   /s/ John J. Metzidis (with permission)
     JONAH A. GROSSBARDT                       ALLEN B. GRODSKY
23   MATTHEW L. ROLLIN                         JOHN J. METZIDIS
24   SRIPLAW                                   GRODSKY, OLECKI & PURITSKY LLP
     Attorneys for Plaintiff Jeffrey B.        Attorneys for Defendants Katherine
25
     Sedlik                                    Van Drachenberg aka Kat Von D, Kat
26                                             Von D, Inc., and High Voltage Tattoo,
27                                             Inc.
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 1                                   ATTESTATION
 2
             Pursuant to Local Rule 5.4.3.4(2)(i), all signatories listed, and on whose
 3   behalf this filing is submitted, concur in the filing’s content and have authorized
 4   the filing.
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 6                                           /s/ Jonah A. Grossbardt
                                             JONAH A. GROSSBARDT
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